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                                       Case No. 22-1226

                                               In the

        United States Court of Appeals
                                               for the

                                      Tenth Circuit

                  RANDY DEAN QUINT, JOHN LINN and MARK MOLINA,
                    individually and on behalf of all others similarly situated,
                                       Plaintiffs-Appellants,


                                                 v.


                                       VAIL RESORTS, INC.,
                                       a Delaware corporation,
                                       Defendant-Appellee.
                            _______________________________________
 Appeal from a Decision of the United States District Court for the District of Colorado - Denver
  Case No. 1:20-CV-03569-DDD-GPG ∙ Honorable Daniel D. Domenico, U.S. District Judge

                      APPELLANTS’ OPENING BRIEF
                         Oral Argument Requested

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                            GLOSSARY OF TERMS

        Pursuant to 10th Cir. R. 28.2(C)(6), Appellants provide the
  following glossary of terms utilized in this brief:

   Term              Definition
   Appellants        A collective reference to the appellants in this appeal
                     who are at times collectively referred to as the
                     “Plaintiffs” or “Colorado Plaintiffs” and separately
                     referred to as “Quint,” “Linn,” and “Molina.”

   AWA               The All Writs Act, 28 U.S.C. § 1651.

   AIA               The Anti-Injunction Act, 28 U.S.C. § 2283.

   CAFA              The Class Action Fairness Act of 2005, 28 U.S.C. §
                     1332(d).

   California        A collective reference to the actions filed in California
   Actions           state courts against certain of Vail’s subsidiaries:
                     Gibson v. The Vail Corp., No. 2:21-cv-01260-KJM-AC
                     (E.D. Cal.) (“Gibson”); Heggen v. Heavenly Valley, L.P.,
                     2:21-cv-00107-WBS-DB (E.D. Cal.) (“Heggen”); and
                     Hamilton v. Heavenly Valley, L.P., 2:21-cv-01608-
                     MCE-DB (E.D. Cal.) (“Hamilton I”); Hamilton v.
                     Heavenly Valley, LP, No. SC20210148 (Cal. Sup.
                     Ct.)(Hamilton II)

   Colorado          The underlying litigation that is the subject of this
   Action            appeal, Randy Dean Quint, et al. v. Vail Resorts, Inc.,
                     Case No: 1:20-cv-03569-DDD-GPG (D. Colo).

   Colorado River The judicial doctrine created by the Supreme Court in
   Doctrine       Colorado River Water District v. United States, 424
                  U.S. 800 (1976), which held, in pertinent part,
                  ““abstention . . . is an extraordinary and narrow
                  exception to the duty of a District Court to adjudicate a
                  controversy” and is justified “only in the exceptional
                  circumstances where the order to the parties to repair



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   Term              Definition
                     to the State court would clearly serve an important
                     countervailing interest.” Id. at 813.

   Complaint         The Colorado Action Plaintiffs’ Class and Collective
                     Action Complaint for Violations of Federal and State
                     Labor Laws filed in the United States District Court for
                     the District of Colorado on December 3, 2020.

   District Court    The United States District Court for the District of
                     Colorado.



   FLSA              The Fair Labor Standards Act of 1938, 29 U.S.C. § 201,
                     et seq.

   HVLP              Heavenly Valley Limited Partnership, a Vail
                     subsidiary operating Vail’s Heavenly Valley ski resort
                     in California.

   Order             The June 27, 2022 Order Overruling Objections to
                     Magistrate Judge’s Order on Motion for Emergency
                     Permanent Injunction (5-AA-1185-94).

   R&R               Magistrate Judge Gordon P. Gallagher’s Report and
                     Recommendation dated March 9, 2022 denying
                     Plaintiffs’ emergency motion for an injunction under
                     the AWA.

   Settlement        Vail’s settlement with the California Actions plaintiffs.

   Vail              Defendant Vail Resorts, Inc.

   Vail              The Vail Corporation d/b/a Vail Resorts Management
   Management        Company, a Vail subsidiary.
   Co.




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           STATEMENT OF PRIOR OR RELATED APPEALS

        Counsel for Appellants are unaware of any prior or related appeals

  within the meaning of 10th Circuit Rule 28.2(C)(3).




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                      JURISDICTIONAL STATEMENT

        The District Court had jurisdiction over Appellants’ FLSA claims

  pursuant to 28 U.S.C. § 1331 because such claims raise a federal question

  under 29 U.S.C. § 201, et seq. The District Court also had jurisdiction

  over Appellants’ FLSA claims pursuant to 29 U.S.C. § 216(b) and original

  jurisdiction over Appellants’ class claims via CAFA. The District Court

  had supplemental jurisdiction over Appellants’ state law claims pursuant

  to 28 U.S.C. § 1367 because the state law claims and the federal claims

  are so closely related that they form part of the same case or controversy

  under Article III of the United States Constitution.

        Appeal No. 22-1226 arises out of the District Court’s Order

  overruling Appellants’ objections to the Magistrate Judge’s R&R denying

  Appellants’ emergency motion under the All Writs Act. 5-AA-1185-1194.

  On July 26, 2022, Appellants timely filed their notice of appeal. 5-AA-

  1195-97. This Court has jurisdiction over this appeal pursuant to 28

  U.S.C. § 1292(a).




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                             ISSUES ON APPEAL

        1.    When considering Appellants’ objections to the Magistrate

  Judge’s R&R, did the District Court commit reversible error by failing to

  review the R&R de novo and instead applying the “clearly erroneous or

  is contrary to law” standard.

        2.    Did the District Court err in adopting the Magistrate Judge’s

  recommendation to decline to exercise authority under the AWA to enjoin

  Vail from consummating a collusive “reverse auction” settlement in the

  California Actions.

        3.    Did the District Court err in adopting the Magistrate Judge’s

  finding that the AIA precluded application of the AWA.

        4.    Did the District Court err in abstaining from enjoining the

  California Actions under the Colorado River Doctrine.

        5.    Did the District Court err by failing to enforce the First Filed

  Doctrine.




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                          STATEMENT OF THE CASE

        This appeal arises from the District Court’s denial of Appellants’

  AWA motion to enjoin Vail from consummating an inadequate and

  collusive “reverse auction” settlement in a California state court designed

  extinguish the broader, stronger Colorado Action and the District Court’s

  jurisdiction over Appellants’ class and collective claims. 5-AA-1185-94.

  A.    Relevant Background

        1.    The Colorado Action

        Appellants—each a current or former Vail hourly employee, filed

  their Complaint on December 3, 2020, alleging FLSA and state labor law

  claims.    1-AA-24-202.    Appellants’ claims were brought on behalf of

  themselves and a nationwide collective and classes of all “current and

  former Vail Resorts hourly employees who worked in the United States

  and who were not compensated for work-related equipment and cell

  phone costs or ‘off-the-clock’ work including, but not limited to, travel

  time, donning and doffing time, and training time during the three years

  preceding the filing of this Complaint through judgment [].” 1-AA-28; 1-

  AA-56-60. Appellants also alleged nationwide class claims for breach of

  contract and unjust enrichment. 1-AA-187-88.



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        Headquartered in Broomfield, Colorado, Vail operates 33 resorts

  and ski areas across the United States. 1-AA-39. Vail admits that the

  allegedly    unlawful    employment       policies     were     formulated     and

  implemented at its Colorado headquarters. 3-AA-677-79.

        Since December 2020, the parties have engaged in extensive

  discovery and motion practice. 1-AA-10-23. On February 26, 2021, Vail

  filed a partial dismissal motion (1-AA-13), which the District Court

  denied on July 8, 2022. 1-AA-21. On April 21, 2021, Appellants filed

  motions to preliminarily certify the FLSA collective and disseminate

  notice (1-AA-14), which the District Court denied without prejudice on

  June 23, 2022. 5-AA-1175-84. On August 8, 2022, Appellants filed their

  motion for class certification (1-AA-21), which is sub judice.

        2.    Vail’s Motion to Stay the Colorado Action

        On August 12, 2021, Vail sought to stay the Colorado Action for

  ninety days based on pending approval of a class settlement in two

  “parallel” actions. 1-AA-209 –2-AA-298. Those actions had been initiated

  in California state court against Vail subsidiaries, HVLP and Vail

  Management, respectively, and removed to the Eastern District of

  California. Vail asserted that the Settlement would “resolve and release



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  all outstanding claims against Vail Resorts” including in the Colorado

  Action.    1-AA-255.    In advocating for the stay, Vail represented the

  Settlement “will be subject to a rigorous settlement approval process” in

  federal court. 1-AA-264. The District Court granted the stay (2-AA-374-

  79; 5-AA-1040-44) over Appellants’ opposition (2-AA-299-362) and

  objection. 2-AA-380-405.

        3.    The California Federal Court Actions

              i.    Heggen

        On October 21, 2020, Heggen filed a 19-page putative class action

  complaint against HVLP, a Vail subsidiary, in California state court

  asserting California Labor Code and Business and Professions Code

  claims on behalf of a class of non-exempt employees at Vail’s Heavenly

  Valley resort in the State of California since April 6, 2016. 1-AA-585-611.

  Heggen disclaimed any claim under federal or other state law, relying

  “solely on California statutes and law.” 1-AA-586.

        On January 20, 2021, HVLP removed Heggen to the Eastern

  District under CAFA. 2-AA-618-699. HVLP’s removal papers asserted

  that “a conservative estimate of the amount in controversy” in the action

  exceeded at least $13 million. 3-AA-614. HVLP’s removal notice included



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  a Declaration from Vail Management Co.’s Associate General Counsel,

  stating the following under penalty of perjury:

        As a limited partnership HVLP’s partners direct, control, and
        coordinate HVLP’s business activities through its
        headquarters in Broomfield, Colorado. Decision-making
        executives, marketing employees, and IT-infrastructure
        employees, are located in Broomfield, Colorado. Additionally,
        primary decisions concerning HVLP’s key financial,
        employee relations, marketing, accounting, and legal
        policy, are made in, and directed from, Broomfield,
        Colorado. 3-AA-675 (emphasis added.)

        Following removal, Heggen identified the Colorado Action as
        a related action. 3-AA-691.

              ii.    Gibson

        On April 20, 2021, Gibson filed a collective and class action

  complaint in California state court against Vail Resorts Management Co.

  alleging violations of California law and an FLSA claim for unpaid

  overtime. 2-AA-444-54. Gibson designated the Colorado Action as a

  “related case” at the time of filing. 2-AA-430-31.

              iii.   The Heggen/Gibson Settlement

        On July 20, 2021, Vail Resorts Management removed Gibson to the

  Eastern District of California on federal question grounds. 2-AA-468. On

  July 23, 2021, three days after Gibson’s removal, Vail and the Gibson and

  Heggen plaintiffs executed a “Memorandum of Agreement designed to


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  bind them to the terms of a nationwide settlement encompassing all

  claims for alleged unpaid wages and any other alleged violation of state

  or federal law (statutory or common law).” 1-AA-214-215. No motion

  practice or other substantive litigation activity occurred in Gibson or

  Heggen prior to the settlement. 4-AA-856-859.

        On August 12, 2021, Gibson and Heggen filed joint notices in the

  Eastern District that the parties anticipated filing a motion for

  preliminary approval “within 30 to 60 days.” 4-AA-801. On August 16,

  2021, the Gibson court ordered the preliminary approval motion be filed

  by October 15, 2021. 4-AA-969.

        4.    The California State Court Actions

              i.    Hamilton I

        On July 8, 2021, Hamilton I filed a boilerplate putative class action

  complaint against HVLP in California state court alleging solely

  California Labor Code and Business and Professions Code claims on

  behalf of “meal period,” “rest period,” and “reimbursement” class of

  California employees. 4-AA-727-8.




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              ii.    Hamilton II

        On August 9, 2021, more than ten months after the Colorado Action

  was filed, Hamilton filed another California state court complaint based

  on the same facts as Hamilton I with a single claim under California’s

  Private Attorney General Act, California Labor Code section 2698, et seq.

  (“Hamilton II”). 4-AA-763-4.

              iii.   Removal

        On September 8, 2021, HVLP removed Hamilton I under CAFA (4-

  AA-739-54) and filed a notice of related case as to the Colorado Action. 4-

  AA-756-8. HVLP did not seek to remove or dismiss Hamilton II, and

  instead answered on October 7, 2021. 5-AA-1273.

              iv.    Retreat to California State Court

        On October 11, 2021, Heggen/Gibson requested an additional 14

  days to file preliminary settlement approval papers (3-AA-563), which

  the court granted on October 13, 2021. 3-AA-571. However, on the new

  October 29, 2021 due-date, the parties filed a stipulation to stay the three

  Eastern District actions (Heggen; Gibson; Hamilton I) pending

  settlement approval in California state court in the last filed action,

  Hamilton II. On November 2, 2021, Appellants sought intervention. 4-



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  AA-787-840. Without ruling on Appellant’s motion, the Eastern District

  stayed Heggen, Gibson, and Hamilton I. 4-AA-780-85,841-846.

        5.    California State Court Settlement Approval

        In January, 2021 Hamilton II sought preliminary Settlement

  approval. 5-AA-1030-38. On November 19, 2021, Appellants sought to

  intervene in Hamilton II to seek dismissal in deference to the earlier filed

  Colorado Action. 4-AA931-5AA-986. On January 7, 2022, the California

  state court denied intervention, ruling that Appellants’ interests were

  not practically impaired or impeded because they could opt out or object

  to the Settlement.      On January 28, 2022, the California state court

  granted preliminary Settlement approval, striking Appellants’ objection

  for lack of standing. 5-AA-1030-39.

  B.    The District Court’s Denial of Appellants’ AWA Motion

        On November 10, 2021, Appellants asked the District Court to

  enjoin the Settlement as an inadequate and collusive “reverse auction”

  settlement improperly calculated to extinguish the Colorado Action’s

  broader and stronger claims and avoid the District Court’s general

  jurisdiction. 2-AA-406-430. At the time briefing closed on November 24,

  2022, Hamilton II had not yet filed a preliminary approval motion.



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  Appellants understood at that time, however, that the Settlement

  consideration totaled $14,000,000—i.e., approximating HVLP’s estimate

  of the total maximum recoverable damages in Heggen, which was

  brought on behalf of California employees only. 2-AA-420. In addition,

  the Settlement would release the Colorado Action’s FLSA collective and

  class claims only if the settling parties agreed to release claims under

  state laws other than California, notwithstanding that no named plaintiff

  in any of the underlying cases had asserted such claims and that Vail

  would not be subject to jurisdiction in California on any claim brought by

  or on behalf of persons who worked for Vail in other states—the vast bulk

  of the collective and class—absent Vail’s consent.

        On March 9, 2022, the Magistrate Judge entered the R&R, which

  held, inter alia, that “Plaintiffs fail to point to any facts to support the

  serious accusation that this is an abusive or collusive settlement and this

  Court takes umbrage at the insinuation that another federal or state

  judge would be so unethical as to permit such nefarious conduct.” 5-AA-

  1087. The Magistrate Judge also found that he did not need to determine

  whether the Colorado Action was “first filed” because, “[e]ither way,

  Plaintiffs arguments fail to warrant enjoining the settlement proceedings



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  occurring in the California state court . . . .” 5-AA-1090. In addition, the

  Magistrate Judge concluded that the AIA barred the requested relief. 5-

  AA-1090-92. Finally, the Magistrate Judge determined that “Plaintiffs

  have failed to demonstrate that they will be prejudiced by the settlement

  . . . and even if that were the case, that would be an issue for them to

  raise with the California state court.” 5-AA-1092.

        On March 23, 2022, Appellants objected to the R&R. 5-AA1103-

  1126. By that time, Hamilton II’s preliminary approval motion had been

  filed, which disclosed the amount of the Settlement ($13,100,000), the

  settlement class size (approximately 100,000), and that the settling

  parties had agreed that plaintiffs would file an amended complaint and

  release all claims under the FLSA and the laws of 15 states (in addition

  to California) at issue in the Complaint. 5AA-1030-39.

        On June 27, 2022, the District Court overruled Appellants’

  objections, finding the “factual findings and legal application are not

  clearly erroneous or contrary to law.” 5-AA-1188. The District Court also

  found “no precedent for the proposition that this federal court is

  empowered to undertake a review of a settlement agreement reached in

  a different court, before a different judge.” (Id.). The District Court also



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  found that the Magistrate Judge’s determination that no AIA exception

  applied was not contrary to law. 5-AA-1189-92. The District Court

  construed this Court’ statement in Hillman v. Webley, 115 F.3d 1461,

  1469 (10th Cir. 1997), that a district court “undoubtedly [has] authority

  under the All Writs Act to enjoin parties before it from pursuing

  conflicting litigation in state court” is limited to circumstances where a

  district court already issued a settlement order that a state court action

  threatened to frustrate. 5-AA-1190. Finally, the District Court ignored

  evidence and misconstrued “[t]he allegedly collusive behavior” that other

  courts hold is strong indicia of misconduct as “simply Plaintiffs’

  disagreement” with the Settlement. 5-AA-1187.




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                          SUMMARY OF ARGUMENT

        The R&R and Order both erred in finding the evidence did not show

  the Settlement was collusive, inadequate or a reverse auction.

        The Settlement and the circumstances surrounding it are precisely

  those against which courts and commentators alike have cautioned are

  indicia of a “reverse auction” and “collusive” or “sham” settlement. See,

  e.g., Reynolds v. Beneficial Nat’l Bank, 288 F.3d 277, 282-83 (7th Cir.

  2002) (a “reverse auction” is when a “defendant in a series of class actions

  picks the most ineffectual [] lawyers to negotiate a settlement in the hope

  that the district court will approve a weak settlement that will preclude

  other claims against the defendant”); Madeline M. Xu, “Form, Substance,

  and Rule 23: The Applicability of the Federal Rules of Evidence to Class

  Certification,” 95 N.Y.U. L. Rev. 1561, 1585, 1587 (2020) (cautioning

  against settlements that include “not only those claims brought by the

  class, but also claims that were not raised at all” and noting the absence

  of jurisdiction over such claims “poses the greatest risk to the right of

  absent class members, as their choses in action are negotiated away even

  where their representatives have no bargaining power”).




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        Both the R&R and the Order failed to address Appellants’ evidence

  showing the settlement was a collusive sham, including, for example, the

  parties’ forum shopping and other gamesmanship. Specifically, Vail and

  the California Actions plaintiffs first assured the District of Colorado that

  the settlement would be “rigorously scrutinized” by another federal court

  and then inexplicably submitted the settlement for approval by a

  California state court in a different action that had not even been filed

  when the settlement was negotiated and finalized. The R&R and Order

  also ignored Vail’s own admissions. For example, the policies at issue

  were formulated and implemented at Vail’s Colorado headquarters,

  which supports Appellant’s argument that the litigation and resolution

  of the FLSA and other claims is properly venued in the District of

  Colorado. 3-AA-675. Similarly, the R&R and Order do not address Vail’s

  admissions showing the settlement amount is grossly inadequate relative

  to range of potential damages in the Colorado Action (3-AA-614) and Vail

  was able to extract a significant discount because of jurisdictional and

  substantive infirmities in the California Actions that are not present in

  the Colorado Action.




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        Only after the settlement was executed, did Vail belatedly comply

  with its Colorado Local Civil Rule 3.2 obligation to notify the federal court

  and Appellants of the related California Actions.               Vail and its

  confederates then engaged in gamesmanship, first securing a stay of the

  Colorado Action by assuring the District Court that the settlement would

  be subject to another federal court’s “rigorous review” but ultimately

  submitting the settlement for approval in a remote California state court,

  unfamiliar with the controversy and no jurisdiction over the FLSA claims

  or nationwide class claims.

        In response to Vail’s duplicity, Appellants asked the District Court

  to exercise its AWA authority to enjoin Vail from consummating the

  Settlement. 2-AA-406 – 4-AA-859. On March 9, 2022, the Magistrate

  Judge issued an R&R that committed numerous errors of law and fact.

  5-AA-1083-93. The District Court then compounded and added to those

  defects in erroneously adopting the R&R. 5-AA-1185-94.

        First, this litigation belongs in the District of Colorado. Appellants’

  first filed complaint alleging federal FLSA claims and class action claims

  subject to CAFA was brought in the district where Vail is headquartered

  and is subject to general jurisdiction, and the challenged policies were



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  formulated and implemented. Appellants’ action is the most advanced

  and actively litigated. There is no question that the District of Colorado

  has by far the strongest interest in the claims, particularly relative to a

  remote California state court.

        Second, under the AWA, the District Court is empowered to enjoin

  conflicting or abusive litigation in another court, particularly in later-

  filed actions involving overlapping parties and issues. Chic. Pneumatic

  Tool Co. v. Hughes Tool Co., 180 F.2d 97, 101 (10th Cir. 1950); Hillman

  v. Webley, 115 F.3d 1461, 1469 (10th Cir. 1997). The AWA authorizes

  courts to prevent parties from “pursuing an inadequate or collusive

  settlement in state courts which would release the apparently stronger

  claims in the instant case.” Guerra v. Texaco Exploration & Prod., Inc.,

  48 F. Supp. 2d 699, 704 (S.D. Tex. 1998). The AWA also authorizes the

  district court to enjoin Vail from consummating and submitting its

  proposed settlement for approval in another federal or state court. See,

  e.g., In re Managed Care Litig., 236 F. Supp. 2d 1336, 1342-43 (S.D. Fla.

  2002); In re Checking Account Overdraft Litig., 859 F. Supp. 2d 1313,

  1325 (S.D. Fla. 2012).




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        Finally, whether a party has circumvented rules or committed

  improprieties is relevant when considering an injunction under the AWA.

  See, e.g., Span-Eng Assoc. v. Weidner, 771 F.2d 464, 470 (10th Cir. 1985).

  Specifically, Local Rule 3.2(c)(1) required Vail to disclose any related

  action “pending in this or any federal, state, or foreign jurisdiction” when

  it first appears in such actions. But Vail deliberately circumvented Local

  Rule 3.2 and delayed disclosing the related and later-filed California

  Actions for many months until after it had procured a “settlement” from

  those friendly plaintiffs.

        Vail further obtained a stay of the Colorado Action by falsely

  assuring the District Court that the Settlement would be subject to a

  “rigorous [] approval process” in another federal court.            But after

  obtaining that stay, Vail then stayed the related federal actions to seek

  approval in California state court. Unlike the District of Colorado, the

  California state court has virtually no connection to the challenged

  conduct or familiarity with the claims, facts, and issues in dispute. Nor

  would the California state court have jurisdiction absent Vail’s consent.

        The R&R denying Appellants’ AWA Motion misapplied the law and

  the facts. Appellants timely objected, arguing, among other things, the



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  District of Colorado, which has general jurisdiction over Vail, should

  retain its “priority to consider the case.” 5-AA-1108 (citing Hospah Coal.

  v. Chaco Energy, 673 F.2d 1161, 1163 (10th Cir. 1982)). Instead, the R&R

  improperly deferred to the California actions essentially giving them

  priority. 5-AA-1108; see also Wakaya Perfection v. Youngevity, 910 F.3d

  1118, 1124 (10th Cir. 2018).       The R&R determined that the district

  court’s AWA authority was precluded by the AIA. 5-AA-1090-92. This

  was in error because Appellants were not asking to enjoin a state court

  proceeding and even if the AIA applies, the injunction falls within the

  “expressly authorized by [] Congress,” and “necessary in aid of

  jurisdiction” exceptions. 28 U.S.C. § 2283. The removal statute is an

  express authorization to stay state court proceedings and therefore,

  injunctions in removed cases come within the first exception to the AIA.

  Vendo Co. v. Lektro–Vend Corp., 433 U.S. 623, 640 (1977). Hamilton II

  was improperly filed in state court by the same plaintiff based on the

  same facts as Hamilton I which was removed to federal court. Therefore,

  Hamilton II, which improperly split its claims, subverts federal removal

  jurisdiction and may be enjoined under the “expressly authorized”

  exception.



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        Appellants also argued the R&R erroneously suggested the District

  Court may abstain from exercising jurisdiction in favor of the California

  court under the Colorado River Doctrine. 5-AA-1088. As the Supreme

  Court explained, the “doctrine of abstention . . . is an extraordinary and

  narrow exception to the duty of a District Court to adjudicate a

  controversy” and is justified “only in the exceptional circumstances where

  the order to the parties to repair to the State court would clearly serve

  an important countervailing interest.” Colorado River Water District v.

  United States, 424 U.S. 800, 813 (1976). However, none of the Colorado

  River factors were present. Rather, all relevant factors compelled the

  conclusion that priority to the state court was improper. Application of

  Colorado River Doctrine is mandatory and the court must make “findings

  about the parallel nature of the state and federal proceedings and the

  balance of the factors on the record.” Fox v. Maulding, 16 F.3d 1079,

  1080, 1082 (10th Cir. 1994) ). The R&R’s and District Court’s failure to

  do so is reversible error. Wakaya Perfection v. Youngevity Int’l, 910 F.3d

  1118, 1121, 1123-24 (10th Cir. 2018); see also Moses H. Cone Mem’l Hosp.

  v. Mercury Constr. Corp., 460 U.S. 1 (1983) (same). The District Court




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  overruled Appellants’ objection and adopted the R&R, thus necessitating

  this appeal.

                           STANDARD OF REVIEW

  A.    The Order is Subject to De Novo Review

        “Because the disposition of this appeal turns on issues of law,” this

  Court’s “standard of review in considering the propriety of all of the

  district court judges’ decisions [] is, as a practical matter, de novo.” High

  Desert Relief, Inc. v. U.S., 917 F.3d 1170, 1179 (10th Cir. 2019). “When

  de novo review is compelled, no form of appellate deference is acceptable.”

  Salve Regina College v. Russell, 499 U.S. 225, 238 (1991).

  B.    The District Court’s Determination of the Standard in
        Reviewing the R&R is Subject to De Novo Review

        On appeal, the District Court’s decision to use the “clearly

  erroneous or contrary to law” standard in reviewing the R&R is “subject

  to de novo review.” Birch v. Polaris Indus., Inc., 812 F.3d 1238, 1246

  (10th Cir. 2015).

  C.    All Writs Act

        The standard for reviewing whether the District Court erred in

  denying Appellant’s motion for permanent injunction under the AWA is

  de novo. In re Fundamental Long Term Care, Inc., 873 F.3d 1325, 1335


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  (11th Cir. 2017) (citing SFM Holdings, Ltd. v. Banc of Am. Secs., LLC,

  764 F.3d 1327, 1334 (11th Cir. 2014)).

  D.    Anti-Injunction Act

        The standard for reviewing whether the District Court erred in

  denying Appellant’s motion for permanent injunction under the AIA is de

  novo. Ambort v. United States, 392 F.3d 1138, 1140 (10th Cir.2004).

  E.    Colorado River Abstention

        The Tenth Circuit reviews “district court decisions regarding

  deferral under the Colorado River Doctrine for abuse of discretion.”

  Rienhardt v. Kelly, 164 F.3d 1296, 1302 (10th Cir. 1999) (citing Moses H.

  Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 19 (1983). More

  specifically, under Colorado River, the “decision whether to defer to the

  state courts is necessarily left to the discretion of the district court in the

  first instance. Yet to say that the district court has discretion is not to

  say that its decision is unreviewable; such discretion must be exercised

  under [] Colorado River’s exceptional-circumstances test.” Moses H. Cone

  Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 19, (1983). Thus, even

  with the deferential standard of review, “[o]nly the clearest of

  justifications merits abstention.” Jackson-Platts v.GE Cap. Corp., 727

  F.3d 1127, 1140 (11th Cir. 2013) (quotation marks omitted).

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        “Though decisions to abstain are purportedly reviewed under a

  deferential abuse of discretion standard, an examination of the standard

  as actually applied [] amounts to de novo review with no discretion

  whatsoever left in the hands of the district court.”         Gallogly, Owen,

  Colorado River Abstention: A Practical Reassessment, 106 Virginia Law

  Review, 215 (May 1, 2019); accord Novak v. Federspiel, No. 21-1722, 2022

  WL 3046973, at *2 (6th Cir. Aug. 2, 2022) (“We review a district court’s

  decision to abstain de novo.”); RSM Richter, Inc. v. Behr Am., Inc., 729

  F.3d 553, 557 (6th Cir. 2013)(De novo review ); U.S. v. State Water Res.

  Control Bd., 988 F.3d 1194, 1202 (9th Cir. 2021) (De novo review ).

        Even if an abuse of discretion standard were applied, the Order

  must be reversed because the District Court abused its discretion and

  made an error of law. Koon v. U.S., 518 U.S. 81, 100 (1996) (“A district

  court by definition abuses its discretion when it makes an error of law”);

  U.S. v. Lozado, 776 F.3d 1119, 1124 (10th Cir. 2015) (same); Wyandotte

  Nation v. Sebelius, 443 F.3d 1247, 1252 (10th Cir. 2006)(same); Law Co.

  v. Mohawk Constr. Supply Co., 577 F.3d 1164, 1169 (10th Cir. 2009)

  (same). Thus, even in the context of the abuse of discretion standard, the

  Tenth Circuit reviews “subsidiary legal questions de novo.” Johnson v.



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  Spencer, 950 F.3d 680, 701 (10th Cir. 2020). “The district court abuses its

  discretion if it ‘commits a legal error,’ if it ‘relies on clearly erroneous

  factual findings,’ or if ‘there is no rational basis in the evidence for its

  ruling.’” Ute Indian Tribe of Uintah & Ouray Reservation v. Lawrence, 22

  F.4th 892, 899 (10th Cir. 2022).




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                                  ARGUMENT

  A.    The District Court Erred by Not Reviewing the R&R De
        Novo

        The District Court wrongly concluded that the R&R was not

  dispositive and, consequently, would only “modify or set aside any part of

  the order that is clearly erroneous or is contrary to law.” 5-AA-1186.

  Without explanation, the District Court also claimed that Appellants

  “misstated” the standard of review (5-AA-1189n.1), presumably because

  Appellants argued (5-AA-1112) that since “the applicability of the [AIA]

  calls for a legal conclusion,” the District Court must conduct a de novo

  review of the Magistrate’s application of the AIA.1

        In any event, the District Court failed to review the R&R de novo

  and improperly deferred to the Magistrate.         For example, while the

  District Court recognized that at “various points in their motion and

  reply” Appellants contended that all three exceptions to the AIA applied,

  the court would not “indulge Plaintiffs in a review of arguments” the




  1 The District Court’s error is perplexing because the R&R cited to Fed.

  R. Civ. P. 72(b) and recognized that the motion was dispositive and
  subject to de novo review. 5-AA-1083-84n.2. (“A party’s failure to file
  []written objections [] may bar the party from a de novo determination by
  the District Judge.”)

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  court incorrectly concluded were “not properly raised before Judge

  Gallagher.” 5-AA-1189. As explained below, all arguments were properly

  raised. Even if the AIA exceptions constituted new arguments on reply,

  the District Court had a constitutional obligation to consider all

  arguments de novo. Peretz v. United States, 501 U.S. 923, 939 (1991); see

  also Ocelot Oil Corp. v. Sparrow Industries, 847 F.2d 1458, 1464 (10th

  Cir. 1988) (same). Because the District Court was “so constrained by the

  assumption that the magistrate’s order must be affirmed absent clear

  error,” the Order must be reversed. Ocelot, 847 F.2d at 1464.

        The “relevant statutory provisions authorizing a district court to

  refer matters to a magistrate and establishing the mode of review of the

  magistrate’s actions are in 28 U.S.C. §636(b)(1).” United States v.

  Raddatz, 447 U.S. 667, 673 (1980).         Section 636(b)(1)(A) provides a

  “magistrate judge [may] hear and determine any pretrial matter[],

  except a motion for injunctive relief,” and seven other dispositive

  motions which are “covered by §636(b)(1)(B).” Raddatz, 447 U.S. at 673.

        Section 636(b)(1)(B) provides a magistrate may submit to a judge

  proposed findings of fact and recommendations for “any motion excepted

  in subparagraph (A)” such as a motion for injunctive relief. Section



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  636(b)(1)(C) explains that a judge “shall make a de novo determination

  []to which objection is made. [] The judge may also receive further

  evidence or recommit the matter to the magistrate judge with

  instructions.” 28 U.S.C. § 636(b)(1)(C). Thus, it “should be clear that on

  these dispositive motions, the statute calls for a de novo determination.”

  Raddatz, 447 U.S. at 674; see also Peretz v. U.S., 501 U.S. 923, 939 (1991)

  (same).

        In Ocelot, this Court explained its interpretation of Rule 72 and 28

  U.S.C. Section 636 was “further confirmed by the requirement that

  [courts] read section 636 so as to avoid constitutional problems [] [which]

  requires that Article III judges exercise final decision making authority

  [and] Section 636 may not be read to confer more power on magistrates

  than the Constitution permits.” Ocelot, 847 F.2d at 1463. Therefore, the

  District Court was required to conduct a de novo review which entails

  making “an independent determination of the issues” without giving “any

  special weight to the prior determination.” Id. at 1464. The District

  Court erred in failing to conduct a de novo review.

        The District Court wrongly concluded that Appellants “twice

  misstated the standard of review. (See Doc. 118 at 1, Doc. 123 at 5.).” 5-



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  AA-1189n.1. With respect to the standard of review in Document 123, as

  discussed above, the District Court based its decision on the wrong

  standard of review. Concerning the standard of review in Document 118,

  Appellants cannot discern the court’s perceived error. In the court’s order

  overruling Appellants’ objection (5-AA-1175-84) the court did not

  mention an error in the standard of review and in ECF 143, the court did

  not describe the error. 5-AA-1189n.1. Since the court and Appellants

  cited most of the same cases, Appellants respectfully submit that they

  did not misstate the standard. Compare 5-AA-1065 with 5-AA-1176.

        Perhaps the District Court misunderstood the clearly erroneous

  standard and mistakenly disagreed with Appellants’ assertion that

  matters of law are reviewed de novo.2 5-AA-1065 citing Equal Emp’t

  Opportunity Comm’n v. City of Long Branch, 866 F.3d 93, 99 (3d Cir.

  2017).




  2 The District Court cited Residences at Olde Town Square Ass'n v.
  Travelers Cas. Ins. Co. of Am., 413 F. Supp. 3d 1070, 1072 (D. Colo. 2019),
  which states that the “‘contrary to law’ standard permits ‘plenary review
  as to matters of law,’” but plenary and de novo are the same standard.
  See, e.g., City of Cambridge Ret. Sys. v. Ersek, 921 F.3d 912, 917 (10th
  Cir. 2019).

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        But, contrary to the District Court’s interpretation, Appellants’

  recitation of the clearly erroneous standard in Document 118 was correct.

  When reviewing factual findings of a District Court on a non-

  dispositive motion, a Court of Appeals is bound by the “clearly erroneous”

  standard of Rule 52(a). “That Rule recognizes and rests upon the unique

  opportunity afforded the trial court judge to evaluate the credibility of

  witnesses and to weigh the evidence.” Inwood Labs. v. Ives Labs., 456

  U.S. 844, 855 (1982). Because of the deference to the trial judge, “unless

  an appellate court is left with the ‘definite and firm conviction that a

  mistake has been committed,’ it must accept the trial court’s findings.”

  Id. at 855 (quoting United States v. United States Gypsum Co., 333 U.S.

  364, 395 (1948)). But, where a story “may be so internally inconsistent

  or implausible on its face,” a court may “find clear error even in a finding

  purportedly based on a credibility determination.” Anderson v. Bessemer

  City, 470 U.S. 564, 575 (1985). However, “if the trial court bases its

  findings upon a mistaken impression of applicable legal principles, the

  reviewing court is not bound by the clearly erroneous standard.” Inwood

  Labs, 456 U.S. at 855 n.15.




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        Thus, the case for deference vanishes when a court’s conclusion is

  infected by legal error. As a result, when a trial court “premise[s] its

  ultimate finding[] on an erroneous interpretation of the standard to be

  applied,” appellate courts do not use clear error review. U.S. v. Parke,

  Davis Co., 362 U.S. 29, 44 (1960). Instead, appellate courts “treat the

  trial court’s conclusion as a question of law.” Vinick v. U.S., 205 F.3d 1,

  7 (1st Cir. 2000) (citing United States v. Singer Mfg. Co., 374 U.S. 174,

  194 n. 9 (1963)).

        Therefore, in the Tenth Circuit, when, as here, a lower court’s

  factual findings are premised on improper legal standards or on proper

  ones improperly applied, “they are not entitled to the protection of the

  clearly erroneous standard, but are subject to de novo review.” In re

  Kretzinger, 103 F.3d 943, 946 (10th Cir. 1996).

  B.    The District Court Committed Reversible Error by
        Concluding No Facts Supported Appellants’ Contention
        that the Settlement Was Collusive

        The Magistrate erroneously concluded that Appellants failed to

  “point to any facts to support the serious accusation that this is an

  abusive or collusive settlement” and the Court took “umbrage at the

  insinuation that another federal or state judge would be so unethical as



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  to permit such nefarious conduct.” 5-AA-1087. The Magistrate reached

  this conclusion, which was adopted by the District Court, by ignoring

  Appellants’ extensive evidence of improprieties—the very same

  misconduct that numerous courts and scholars find are indicia of

  collusion and a “reverse auction” settlement. Without any basis, the

  District Court concluded the “allegedly collusive behavior is for the most

  part simply Plaintiffs’ disagreement with the settlement agreement

  reached in the other cases” and assumed without basis that the

  Settlement was “likely the product of good faith negotiations and

  decision-making rather than anything nefarious.” 5-AA-1187.

        The District Court ignored Appellants’ argument that the litigation

  belongs in the District of Colorado where Vail is headquartered and

  subject to general jurisdiction, and where the challenged policies were

  formulated and implemented. A series of Supreme Court opinions3 has

  made it clear that nationwide class or collective actions must be filed and

  litigated where the defendant is subject to general jurisdiction, that is,

  where the company is headquartered or incorporated in order to curb


  3 See e.g. Goodyear Dunlop Tires Oper. v. Brown, 564 U.S. 915 (2011);

  Daimler AG v. Bauman, 571 U.S. 117 (2014); Bristol-Myers Squibb Co. v.
  Superior Court of Cal., 137 S. Ct. 1773 (2017).

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  “forum shopping” or “litigation tourism.” Philip S. Goldberg et al., The

  U.S. Supreme Court’s Personal Jurisdiction Paradigm Shift to End

  Litigation Tourism, 14 Duke Journal of Constitutional Law & Public

  Policy 51-52 (2019); Daniel Wilf-Townsend, Class Action Boundaries, 90

  Fordham L. Rev. 1611, 1663 (2022) (same).4

        Specifically, defendants can manipulate their use or non-use of

  jurisdictional defenses in foreign venued actions to leverage sweetheart

  deals with plaintiffs who are vulnerable to such defenses. See Wilf-

  Townsend, Class Action Boundaries, 90 Fordham L. Rev. at 1662. These

  dynamics incentivize defendants to “engage in a ‘reverse auction’ in

  which the defendant consents to nationwide jurisdiction in whatever

  jurisdiction is most favorable to the defendant.” Id. (footnote omitted).

        Pre-certification class and collective settlements merit close

  scrutiny and a district court “abuses its discretion if it fails to apply ‘an

  even higher level of scrutiny for evidence of collusion or other conflicts of



  4 With respect to FLSA claims specifically, the Sixth and Eighth Circuits

  recently held that employers are not subject to nationwide jurisdiction in
  cases brought outside of their home forum. See Canaday v. Anthem Cos.,
  9 F.4th 392, 400-01 (6th Cir. 2021); Vallone v. The CJS Solutions Group,
  LLC, 9 F.4th 861 (8th Cir. 2021).



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  interest than is ordinarily required under Rule 23(e).’”          Roes, 1-2 v.

  SFBSC Mgmt., LLC, 944 F.3d 1035, 1043 (9th Cir. 2019). The court must

  look for “‘subtle signs that class counsel have allowed pursuit of their own

  self-interests . . . to infect the negotiations.’” Id. (quoting Allen, 787 F.3d

  at 1223-24).

        Numerous courts have rejected settlements where, as here, there

  are “indicia of collusion” or “red flags” indicating a potential reverse

  auction. Kim v. Allison, 8 F.4th 1170, 1179–80 (9th Cir. 2021) (pre-

  certification class settlement approval reversed because it “failed to take

  the required hard look at indicia of collusion”); In re Cmty. Bank of N.

  Virginia, 418 F.3d 277, 307 (3d Cir. 2005) (Expedited settlements of

  “questionable value” consummated without “significant discovery” that

  are “accompanied by an enormous legal fee” deserve special scrutiny);

  Ross v. Convergent Outsourcing, Inc., 323 F.R.D. 656, 660-61 (D. Colo.

  2018) (preliminary approval denied where “the nature of the proposed

  settlement raises a red flag as to whether it is the product of a so-called

  ‘reverse auction’”); Cullan & Cullan LLC v. M-Qube, Inc., No. 8:13CV172,

  2014 WL 347034, at *9-*10 (D. Neb. Jan. 30, 2014) (same) Gray v. CJS




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  Sols. Grp., LLC, No. cv-19-1008 (PAM/DTS), 2020 WL 4476440, at *4 (D.

  Minn. Aug. 4, 2020) (same).5

        Appellants cited the very same hallmarks, which confirmed the

  Settlement as a collusive end run around the Colorado Action’s broader

  and stronger claims:

        First, Vail engaged in no holds barred litigation with Appellants;

  yet, swiftly settled the California Actions without any substantive

  litigation activity. To achieve the Settlement, the California Actions

  plaintiffs had to substantively broaden their claims in order to bar the

  Colorado Action FLSA and state law claims.

        Second, all three Heggen and Gibson plaintiffs worked in

  California and were pursuing California state law claims. Only Gibson

  asserted a lone FLSA count for non-payment of overtime. 2-AA-444-54.




  5 The District Court concluded that “Plaintiffs provide no precedent for

  the proposition that this federal court is empowered to undertake a
  review of a settlement agreement reached in a different court, before a
  different judge.” 5-AA-1187. But Appellants did not ask the court to
  review the Settlement under Rule 23. Instead, Plaintiffs were asking the
  court to examine the indicia and circumstantial evidence of collusion that
  were well-recognized in these cases. Therefore, contrary to the court’s
  assertion, these cases are not inapposite. See 5-AA-1188.

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  Yet, the Settlement purports to resolve all claims asserted in the

  Colorado Action, not just the California Actions’ limited claims.

        Third, courts are skeptical of defendants’ attempts to settle

  parallel litigation with plaintiffs’ counsel who, as here, are in a

  “precarious position[,]” finding that it could give rise to a perception of

  improper dealing. See Figueroa v. Sharper Image Corp., 517 F. Supp. 2d

  1292, 1321 (S.D. Fla. 2007).

        Fourth, Vail engaged in procedural gamesmanship and deception.

  Vail repeatedly violated the District of Colorado’s Local Rules by failing

  to timely provide notice of the California Actions. Vail removed Hamilton

  I and Gibson to the Eastern District but not Hamilton II to leave all

  options open. 4-AA-739-54; 5-AA-1273. Just four days after removing

  Gibson, on July 23, 2021, Vail and the Gibson and Heggen plaintiffs

  “executed a Memorandum of Agreement designed to bind them to the

  terms of a nationwide settlement encompassing all claims for alleged

  unpaid wages and any other alleged violation of state or federal law

  (statutory or common law).” 1-AA-214-215.




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        Finally, after signing the MOU, on August 12, 2021, Vail belatedly

  filed its required related case notice in the District of Colorado, disclosing

  for the first time the California Actions (other than Hamilton II). 1-AA-

  205-08. Vail also moved to temporarily stay the Colorado Action in order

  to present its settlement to the Eastern District of California for

  “rigorous” review and approval. Vail and the California Actions plaintiffs

  also represented to the Eastern District of California that they would

  submit their settlement to that federal court. 1-AA-209-2-AA-233.

  However, on October 29, 2021, Vail and the California Actions plaintiffs

  stipulated to a stay of the three Eastern District actions in order to

  submit their settlement to the El Dorado County Superior Court in the

  last-filed Hamilton II. 4-AA-780-85.

        The Colorado Local Rules provide that a “party to a case shall file a

  notice identifying all cases pending in this or any other federal, state, or

  foreign jurisdiction that are related to the case.” D.C. COLO. LCivR 3.2.

  A “party shall file the required notice at the time of its first appearance

  or the filing of its first pleading or document [and] shall file promptly a




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  supplemental notice of any change in the information required under this

  rule.” Id. 6

        The California Actions are “related” under Rule 3.2: they share

  common         parties   (i.e.,   overlapping   collective/class   members     and

  defendants with a common corporate parent); the claims “revolve around”

  Vail’s employment practices; and Vail has raised common defenses.

  Malcolm v. Reynolds Polymer Tech., Inc., No. 17-CV-2835-WJM-KLM,

  2018 WL 6695921, at *5 (D. Colo. Dec. 20, 2018); Masciotra v. Vertafore,

  Inc., No. 20-CV-3603-WJM-NYW, 2021 WL 1720860, at *2 (D. Colo. Apr.

  30, 2021) (finding case related and applying first filed rule where “the

  subject matter of the litigation is substantially the same.”). Vail

  identified the Colorado Action as related to the California Actions under

  the analogous rules of those courts. 3-AA-691.

        Under Local Rule 3.2, Vail was required to file a notice of related

  case for Heggen when counsel appeared on January 5, 2021 and for


  6  The District Court also agreed “with Judge Gallagher’s conclusion that
  that Local Rule 3.2(c) ‘does not permit this Court to enjoin the California
  cases from proceeding.’” 5-AA-1188. But both the Magistrate and the
  District Judge misconstrued Appellants’ argument that Vail should be
  enjoined under the AWA, not Rule 3.2. Violation of the Local Rule was
  but one piece of evidence that Vail improperly avoided the District
  Court’s general jurisdiction to engineer a reverse auction settlement.

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  Gibson on April 20, 2021. 1-AA-203-08. Vail did not file the required

  notice until August 12, 2021. 1-AA-205-08. Construing Rule 3-2 any other

  way in the class/collective action context would make no sense given the

  evident purpose of the rule to prevent the undisclosed simultaneous

  litigation of overlapping actions potentially bearing on the first filed

  Colorado Action pending in the District Court.

        Thus, Vail repeatedly violated the District Court’s rules, and its

  solemn duty of candor. These rules are not mere technical formalities.

  The requirement to give notice to the first filed case of subsequently filed

  related cases is rooted in strong policy concerns for fairness to the parties,

  judicial economy, avoidance of piecemeal litigation, and the just, speedy

  and inexpensive resolution of cases. Vail’s gamesmanship caused the

  exact problems these rules avoid. Nowlan v. Cinemark, USA, Inc., 2012

  U.S. Dist. LEXIS 136235, at *1 (D. Colo. Sep. 24, 2012); see also PTW

  Energy Servs., Inc. v. Carriere, No. 19-CV-01436-REB-NYW, 2019 WL

  3996874, at *11 (D. Colo. Aug. 23, 2019) (The “failure to file the required

  notice suggests that Plaintiff is attempting to avoid scrutiny”); Vaqueria

  Tes Monjitas, Inc. v. Rivera Cubano, 230 F.R.D. 278, 279 (D.P.R. 2005)

  (collecting cases for the proposition that courts have “repeatedly



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  recognized the troubling practice of judge-shopping”); Landau v. Virdian

  Energy PA, LLC, 2017 WL 3581323, at *3 (E.D. Pa. April 3, 2017 (same).

        By contrast, a party is entitled to presume the absence of a Rule 3.2

  notice indicates that there are no related cases. RV Horizons, Inc. v.

  Smith, No. 1:18-CV-02780-NYW, 2019 WL 1077366, at *20 (D. Colo. Mar.

  7, 2019). Had Vail timely complied with its obligations, Appellants could

  have sought to intervene prior to the settlement or take other action

  under the first filed rule. See O’Donnell v. Ford Motor Co., 2021 U.S.

  Dist. LEXIS 91795, at *4-5 (C.D. Cal. May 12, 2021) (party’s failure to

  provide notice of related case “waste[d] [] scarce judicial resources”).

        In sum, the Settlement’s timing, procedural machinations and

  legerdemain, and disparate bargaining positions suggest a collusive end

  run around the Colorado Action’s broader and stronger claims. Courts

  and commentators alike have long recognized that “abusive or collusive

  settlement[s]” have been improperly approved in similar circumstances.

  See e.g.   Andrew, S. Weinstein, Avoiding the Race to Res Judicata:

  Federal Antisuit Injunctions of Competing State Class Actions, 75 NYU

  Law Rev. 1085, 1091-93, 1101 (2000).




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        Commentators also recognize that complex interstate class actions

  belong in federal court. “To begin with, federal courts have institutional

  advantages over state courts. Their staffs are better equipped to deal

  with complex litigation in an efficient manner. They also have more

  experience in general with complex litigation and the difficult choice of

  law issues often presented. Moreover, federal courts employ more

  rigorous certification and settlement approval procedures and are often

  more vigilant in protecting the rights of class members.” Id. at 1112-13.

        Defendants, therefore, often “make a ‘low ball’ offer in parallel state

  court proceedings in an effort to settle the class claim for far less than it

  is worth, which creates a “‘reverse auction,’ pitting the various class

  counsel against one another and agreeing to settle with the lawyer

  willing to accept the lowest bid on behalf of the class.” Rhonda

  Wasserman, Dueling Class Actions, 80 Boston University Law Review

  461, 473 (2000). Since “class counsel in dueling class actions are under

  such enormous pressure to settle with the defendant quickly, they often

  begin negotiations before they have undertaken substantial discovery

  and therefore are not well positioned to assess the strength and value of

  the class’s claim. Id. at 474-75. This is exactly what happened here.



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        Finally, “a state court presented with a settlement in a federal/state

  dueling class action context will not receive the information necessary to

  assess the fairness of the settlement from class counsel or the defendant

  and will not be able to piece it together from prior litigation before the

  court. Nor will the state court have the background experience with the

  exclusive federal claims that a federal judge might have, which would

  prove useful in assessing the fairness of a settlement that releases such

  claims.” Id. at 481.

  C.    The District Court Erred in Failing to Enjoin Vail From
        Consummating The Sham California Actions Settlement

        The AWA provides that courts “may issue all writs necessary or

  appropriate in aid of their respective jurisdictions and agreeable to the

  usages and principles of law.” 28 U.S.C. § 1651(a). In particular, the

  AWA empowers a district court to enjoin conflicting or abusive litigation

  in other courts. Chicago Pneumatic Tool Co. v. Hughes Tool Co., 180 F.2d

  97, 101 (10th Cir. 1950); O’Hare International Bank v. Lambert, 459 F.2d

  328, 331 (10th Cir. 1972) (same); Hillman v. Webley, 115 F.3d 1461, 1469

  (10th Cir. 1997) (same).

        The District Court should have overruled the R&R and enjoined

  Vail’s sham settlement. Litigation and any settlement of Appellants’


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  nationwide class and FLSA collective claims against Vail belongs in the

  District of Colorado under established judicial and equitable principles:

  Appellants’ first filed action was brought in the district where Vail is

  headquartered and is subject to general jurisdiction, and where the

  challenged policies were formulated and implemented; and there is no

  question that the District Court has by far the strongest interest in the

  claims and subject matter of the litigation, particularly relative to the

  remote California state court.

  D.    The District Court Erred in Finding the AIA Precludes
        Enjoining Vail’s Sham Settlement

        The District Court erroneously concluded that Appellants’

  requested AWA injunction was barred by the AIA’s prohibition against

  “an injunction to stay proceedings in a State court except as expressly

  authorized by Act of Congress, or where necessary in aid of its

  jurisdiction, or to protect or effectuate its judgments.” 28 U.S.C. § 2283.

  Appellants’ motion asked the District Court only to enjoin Vail from

  submitting to a state court a collusive reverse auction settlement

  designed to extinguish the federal Colorado Action, not to “stay

  proceedings in a State court.” Accordingly, the AIA by its own terms was

  inapplicable.


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        An injunction against settlement does not “stay proceedings.”

  Indeed, this Court has held that the AWA empowers a district court to

  enjoin a party under analogous circumstances “from pursuing conflicting

  litigation in the state court.” Hillman, 115 F.3d at 1469 (approved by

  Syngenta Crop Prot., Inc. v. Henson, 537 U.S. 28, 31(2002)); see also U.S.

  v. New York Tel. Co., 434 U.S. 159, 174 (1977) (AWA authorizes a federal

  court to issue equitable orders including to non-parties and “even those

  who have not taken any affirmative action to hinder justice.”) (internal

  citations omitted).

        This Court’s Hillman decision has been influential. For example,

  in In re Lease Oil Antitrust Litig. No. II, the Southern District of Texas

  enjoined the parties from pursuing an inadequate or collusive settlement

  in state court, “which would release the apparently stronger claims” in

  the federal case. 48 F. Supp. 2d 699 (S.D. Tex. 1998) (citing Hillman).

  The court reasoned that to “allow these federal claims to be ‘hijacked’ by

  a global settlement in state court[] would effectively destroy those federal

  rights and the federal procedures designed to safeguard them and to

  enable their orderly resolution.” Id. at 703. The same facts inferring the

  In re Lease Oil settlement’s improprieties were present here.               For



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  example, as here, the first-filed federal action alleged stronger federal

  Sherman Act claims. Id. at 701. Months later, as in this action, different

  plaintiffs filed a copycat class action in state court alleging similar facts

  and violations state antitrust laws.       Id.   Like here, the state court

  plaintiffs quickly agreed to a global settlement agreement without

  substantial litigation activity, which released all claims—both state and

  federal—for a nationwide class. Id.

        The court found the “very fact that the claims are quite possibly

  weaker [] renders the state court case prone to an inadequate, or possibly

  even collusive, settlement: since the plaintiffs in [] state court are in a

  relatively weak bargaining position, those plaintiffs might be motivated

  to accept a settlement which reflects only the value of their lesser claims,

  rather than the value of the exclusive federal claims.” Id. at 702. “For

  this simple reason, it has been recognized that, when there are parallel

  federal and state cases, ‘[i]f the federal claims are stronger than the state

  claims, a global settlement in state court is not proper. The dangers of a

  ‘hijacking’ of the federal claims are too high, and the state’s interest is

  too low, to justify state court approval of a global settlement that is

  opposed by the federal plaintiff.’” 48 F. Supp. 2d at 703 quoting Marcel



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  Kahan and Linda Silberman, Matsushita and Beyond: The Role of State

  Courts in Class Actions Involving Exclusive Federal Claims, 1996

  Supreme Court Rev. 219, 260–61 (1996).

        Notwithstanding the AIA, several other courts have acknowledged

  that an AWA injunction that could preclude a state court action may be

  appropriate based only on the possibility that the defendants would

  attempt to reach an inadequate or collusive settlement in the state court

  proceeding. Levin v. HSBC Bank, N.A., 99 F. Supp. 3d 288, 301 (E.D.N.Y.

  2015) (“The Court could enjoin Park from pursuing preliminary approval

  of the proposed nationwide class action settlement in the State Court

  Action irrespective of the fact that he is not a party to the MDL or the

  consolidated proposed class action in this Court”); In re Managed Care

  Litig., 236 F. Supp. 2d 1336 (S.D. Fla. 2002) (a federal court “cannot turn

  a blind eye to [a party’s] underhanded maneuvers . . . in an obvious

  attempt to avoid [federal] jurisdiction); In re Checking Acct. Overdraft

  Litig., 859 F. Supp. 2d 1313, 1322 (S.D. Fla. 2012) (enjoining state court

  settlement in later-filed “copycat case” that would “deprive [the federal




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  court] of its ability to adjudicate the long-standing class claims” in the

  first-filed case).7

  E.    The District Court Committed Reversible Error by Not
        Addressing Appellants’ Argument that an Injunction Was
        Proper Under the “Authorized by Act of Congress”
        Exception

        The District Court erred by misconstruing Appellants’ argument

  that an injunction was proper under the authorized by Congress

  exception to the AIA as a new argument improperly raised on reply. 5-

  AA-1189. The court explained that at “various points in their motion and

  reply, Plaintiffs contend that all three exceptions apply.” 5-AA-1189. The

  R&R, however, only addressed the “second and third exceptions.” 5-AA-

  1189. The District Court excused this failure because the Magistrate “did

  not have to discuss an argument raised only in the reply.” 5-AA-1189.

  Compounding this error, the District Court refused to “indulge Plaintiffs

  in a review of arguments not properly raised before Judge Gallagher.” 5-

  AA-1189. This was error and the Order should be reversed on this basis

  alone.


  7 Tooele Cnty. v. United States, 820 F.3d 1183, 1185 (10th Cir. 2016) is

  inapposite because, among other reasons, the Utah officials asked the
  federal court to enjoin the Wilderness Alliance from prosecuting the
  state-court action.

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        In Beaudry, incompletely quoted in the Order, the Tenth Circuit

  explained that “[a]lthough this court generally does not review issues

  raised for the first time in a reply brief, Stump v. Gates, 211 F.3d 527,

  533 (10th Cir. 2000), we make an exception when the new issue

  argued in the reply brief is offered in response to an argument

  raised in the appellee’s brief . . . .” Beaudry v. Corrections Corp. of

  America, 331 F.3d 1164, 1166 n.3 (10th Cir. 2003). These are the exact

  circumstances presented here. Appellants did not raise a new argument

  on reply. Appellants argued in response to Vail’s argument that the

  district court was precluded from issuing an injunction by the AIA, that

  even if the AIA applied, the injunction was proper under two exceptions.

  This was entirely appropriate. Beaudry, 331 F.3d at 1166 n.3; Sadeghi

  v. Immigration & Naturalization Serv., 40 F.3d 1139, 1143 (10th Cir.

  1994) (considering a newly raised argument in reply because it responded

  to an opposition brief contention).

        If Vail believed that Appellants improperly raised new arguments

  on reply, its remedy was to seek leave to file a sur-reply. Allianz Life Ins.

  Co. of N. Am. v. Muse, No. 20-6026, 2022 WL 3701606, at *9 (10th Cir.




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  Aug. 26, 2022); Pippin v. Burlington Res. Oil Gas Co., 440 F.3d 1186,

  1192 (10th Cir. 2006) (same). But Vail did not.

        Finally, even assuming arguendo that all of the arguments were not

  properly raised before the Magistrate, they were properly raised in

  Appellants’ opening brief in support of their objection to the District

  Court, which had a constitutional obligation to consider all the

  arguments on a de novo review. Peretz v. United States, 501 U.S. 923,

  939 (1991); Ocelot Oil Corp. v. Sparrow Industries, 847 F.2d 1458, 1464

  (10th Cir. 1988); First Union Mortgage Corp., v. Smith, 229 F.3d 992, 995

  (10th Cir.2000).        Thus, the District Court’s decision not to “indulge

  Plaintiffs in a review of arguments” constitutes reversible error.

        The District Court also refused to address Appellants’ argument

  concerning the authorized by congress exemption because the court was

  unjustifiably “growing concerned about Plaintiffs’ counsel’s trend of

  waiting to raise new arguments in reply briefs.” 5-AA-1189n.1 citing

  Docs. 89, 95, 118, 124.        The District Court, however, was mistaken.

  Documents 89 and 95 refer to Appellants’ AWA motion opening and reply

  briefs. 2-AA-406-430; 3-AA-898-916. But, Appellants did not raise new

  arguments on reply. Instead, Appellants responded to Vail’s opposition



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  arguments, which is the purpose of a “reply” brief. Underwood v. Bank

  of Am. Corp., 996 F.3d 1038, 1055 n.13 (10th Cir. 2021) (court properly

  considers a new issue argued in reply that is offered in response to an

  argument raised in the opposition brief); Banker v. Gold Res. Corp., 776

  F.3d 1103, 1119 (10th Cir. 2015) (same).

          The same is true with Appellants’ opening and reply briefs in

  support of their objection to the Magistrate’s recommendation to deny

  Plaintiffs’ motion for conditional certification. 5-AA-1045-1057. In their

  opening brief, Appellants objected to the Magistrate’s sua sponte

  recommendation to strike without prejudice 18 opt-in plaintiff consents.

  5-AA-1065. In response, Vail argued the Magistrate “struck the consents

  because he denied conditional certification: ‘[b]ecause this Court

  recommends denying the motion for conditional certification, it

  also recommends striking without prejudice the eighteen notices

  to opt-in as the Court cannot discern whether these parties are

  similarly situated.’        R&R, p. 8 (emphasis added).” 5-AA-1097.

  Appellants’ reply brief properly responded to these arguments. 5-AA-

  1132.




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  F.    Even if the AIA Applies, the District Court Should Have
        Enjoined Vail Under the “Authorized by Act of Congress”
        Exception

        The District Court also erred by refusing to consider Appellants’

  arguments or authorities, mistakenly suggesting Appellants relied on

  “cases that are not binding here.” 5-AA-1187. But Appellants cited, and

  the District Court apparently ignored, binding Supreme Court and Tenth

  Circuit precedent. 5-AA-1108, 1114-22. And Appellants’ out-of-circuit

  authority also was on-point, supported the AWA injunction, and was

  germane to the District Court’s analysis, particularly absent binding

  Tenth Circuit law. Indeed, the Tenth Circuit “often [relies] upon the

  analysis and decisions of other circuit courts of appeals.” U.S. v. Carson,

  793 F.2d 1141, 1147 (10th Cir. 1986).

        Ignoring Appellants’ authorities, the R&R’s AIA analysis is inaptly

  predicated on Smith v. Bayer Corp., 564 U.S. 299 (2011). Unlike here,

  that dispute “involve[d] the last of the Act’s three exceptions, known as

  the relitigation exception.” Smith, 564 U.S. at 306. Moreover, CAFA—

  enacted after Smith—avoids Smith’s concurrent state and federal

  litigation conflict. 564 U.S. at 317.




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        Instead, the District Court should have relied upon Mitchum v.

  Foster, 407 U.S. 225 (1972), which explained that “[d]espite the

  seemingly uncompromising language of the anti-injunction statute prior

  to 1948, the Court soon recognized that exceptions must be made to its

  blanket prohibition if the import and purpose of other Acts of Congress

  were to be given their intended scope.” Id. at 233-34. As a result, “the

  Court through the years found that federal courts were empowered to

  enjoin state court proceedings, despite the anti-injunction statute, in

  carrying out the will of Congress under at least six other federal laws”

  including “legislation providing for removal of litigation from state to

  federal courts.” Mitchum, 407 U.S. 225 at 234. “In addition to the

  exceptions to the anti-injunction statute found to be embodied in these

  various Acts of Congress, the Court recognized other ‘implied’ exceptions

  to the blanket prohibition of the anti-injunction statute.” Mitchum, 407

  U.S. 225 at 235. The court explicitly found that in “order to qualify under

  the ‘expressly authorized’ exception of the anti-injunction statute, a

  federal law need not contain an express reference to that statute. []

  Indeed, none of the previously recognized statutory exceptions contains

  any such reference” including the Fair Labor Standards Act: “The



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  federal courts have found that other Acts of Congress that do not refer to

  § 2283 or to injunctions against state court proceedings nonetheless come

  within the ‘expressly authorized’ language of the anti-injunction statute.”

  Mitchum, 407 U.S. at 237, 238 n.25 (citing Walling v. Black Diamond

  Coal Mining Co., 59 F. Supp. 348, 351 (WD Ky.) (the Fair Labor

  Standards Act); see also Martinez v. Deaf Smith County Grain Processors,

  583 F. Supp. 1200, 1212 (N.D. Tex. 1984) (The court could “only give the

  FLSA its intended scope by enjoining the parties to this suit from taking

  any action to enforce or secure any of the benefits of the state court

  judgment.”). Moreover, the Court continued, a “federal law need not

  expressly authorize an injunction of a state court proceeding in order to

  qualify as an exception.” Mitchum, 407 U.S. at 237.

        The statute governing removal procedures, 28 U.S.C. § 1446,

  provides that after the defendant has given notice of removal and filed

  the notice with the state court, the state court “shall proceed no further

  unless and until the case is remanded.” 28 U.S.C. § 1446(d). This

  language is an express authorization to stay state court proceedings and

  therefore, injunctions in removed cases come within the first exception to

  the Anti–Injunction Act. Mitchum v. Foster, 407 U.S. 225, 234 (1972)



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  (reiterating that removal to federal court is a situation where there is an

  express authorization to enjoin state court proceedings); Vendo Co. v.

  Lektro–Vend Corp., 433 U.S. 623, 640 (1977) (“The statutory procedures

  for removal of a case from state court to federal court provide that the

  removal acts as a stay of the state-court proceedings”); Kansas Pub. Emp.

  Ret. Sys. v. Reimer Koger, 77 F.3d 1063, 1069 (8th Cir. 1996) (“injunctions

  to stay state proceedings in removed cases come within the first exception

  to the Anti-Injunction Act”); Rohe v. Wells Fargo Bank, 988 F.3d 1256,

  1261 n.5 (11th Cir. 2021) (The Supreme Court “has also long held that

  federal courts have the power to enjoin state-court proceedings in

  removed cases”); Maseda v. Honda Motor Co., Ltd.,861 F.2d 1248, 1254

  (11th Cir.1988) (“[A]fter removal, the jurisdiction of the state court

  absolutely ceases and the state court has a duty not to proceed any

  further in the case”); Polyplastics, Inc. v. Transconex, Inc.,713 F.2d 875,

  880 (1st Cir.1983) (removal statute automatically stays state proceedings

  when removal is effected; post-removal proceedings in state court in

  removed case are void ab initio; and a district court may enter order

  staying state proceedings, even though removal statute already

  automatically effected stay.)



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        In Kansas Pub. Emp. Ret. Sys. v. Reimer Koger, 77 F.3d 1063 (8th

  Cir. 1996), the Eighth Circuit explained that although the “removal

  statute only commands the state court to stay the case that was actually

  removed, it has been interpreted to authorize courts to enjoin later filed

  state cases that were filed for the purpose of subverting federal removal

  jurisdiction.” 77 F.3d at 1069 (citing In Frith v. Blazon-Flexible Flyer,

  Inc., 512 F.2d 899, 901 (5th Cir. 1975) (per curiam) (A “district court could

  enjoin a state court case filed after removal if the second case was ‘an

  attempt to subvert the purposes of the removal statute’”); Lou v. Belzberg,

  834 F.2d 730, 741 (9th Cir. 1987)( Recognizing the rule enunciated in

  Frith: “It would be of little value to enjoin continuance of a state case

  after removal and then permit the refiling of essentially the same suit in

  state court”). In other words, “after removal the plaintiff cannot file

  essentially the same case in a second state action to subvert federal

  jurisdiction.” 77 F.3d at 1069.

        Other courts have also “held that § 1446(d) authorizes the issuance

  of an injunction against separate, state-court copycat proceedings

  commenced for the purpose of subverting federal jurisdiction over a

  removed case.” Ackerman v. Exxonmobil Corp., 734 F.3d 237, 250-51 (4th



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  Cir. 2013). Indeed, “Courts [] have unanimously held that a [party’s]

  fraudulent attempt to subvert the removal statute implicates the

  ‘expressly authorized’ exception to the Anti-Injunction Act and may

  warrant the granting of an anti-suit injunction.” Davis v. St. Group

  Corp., 488 F.3d 597, 605 (3d Cir. 2007).

        Here, Hamilton II was improperly filed in state court by the same

  plaintiff based on the same facts as Hamilton I which was removed to

  federal court. Therefore, Hamilton II, which improperly split its claims,

  subverts federal removal jurisdiction and may be enjoined under the

  “expressly authorized” exception. The rule against claim-splitting

  requires a plaintiff to assert all of its causes of action arising from a

  common set of facts in one lawsuit. By spreading claims around in

  multiple lawsuits in other courts or before other judges, parties waste

  “scarce   judicial      resources”   and    undermine    “the   efficient    and

  comprehensive disposition of cases.” Katz v. Gerardi, 655 F.3d 1212, 1217

  (10th Cir. 2011); Stone v. Dep't of Aviation, 453 F.3d 1271, 1278 (10th

  Cir. 2006) (“Critically, that doctrine requires a plaintiff to join all claims

  together that the plaintiff has against the defendant whenever during




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  the course of the litigation related claims mature and are able to be

  maintained.” (emphasis in original).

        In sum, Hamilton II was improperly filed in state court by the same

  plaintiff based on the same facts as Hamilton I which was removed to

  federal court. Therefore, Hamilton II, which improperly split its claims,

  subverts federal removal jurisdiction and may be enjoined under the

  “expressly authorized” exception.

  G.    Even if the AIA Applies, the District Court Should Have
        Enjoined Vail Under the “In Aid of Jurisdiction” Exception

        According to the District Court, the in aid of jurisdiction exception

  only “applies when two suits, one in a state court and the other in a

  federal court, are (1) ‘in rem or quasi in rem, so that the court or its officer

  must have possession or control of the property which is the subject

  matter.’” 5-AA-1190-91 (quoting Mandeville v. Canterbury, 318 U.S. 47,

  48-49 (1943)). This is incorrect.

        First, Mandeville, decided in 1943, pre-dates the current AIA,

  which was first adopted in 1948. In 1943, “Section 265 of the Judicial

  Code, 28 U.S.C. § 379, provide[d] that except as authorized by any law

  relating to proceedings in bankruptcy ‘the writ of injunction shall not be

  granted by any court of the United States to stay proceedings in any court


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  of a State.’” Mandeville, 318 U.S. at 48. Thus, prior to 1948, other than

  bankruptcy proceedings, there were absolutely no exceptions in the

  AIA but, as a practical matter, courts fashioned the in rem exception

  when there was no basis to do so in the statutory text. Toucey v. N.Y.

  Life Ins. Co., 314 U.S. 118, 132 (1941). In response to Toucey, Congress

  amended the AIA in 1948. The new statute provided that a “court of the

  United States may not grant an injunction to stay proceedings in a State

  court except as expressly authorized by Act of Congress, or where

  necessary in aid of its jurisdiction, or to protect or effectuate its

  judgments.” 8

        Moreover, the AIA’s 1948 amendment was designed to overrule

  Toucey and expand the circumstances where federal courts could enjoin

  state court proceedings. There was no indication that the amendment

  was only intended to codify the in rem cases.         In fact, since Toucey

  recognized the legitimacy of the in rem cases, if Congress merely intended

  to continue the in rem exemption, there was no need to amend the


  8 28 U.S.C. § 2283. If Congress intended to limit the “in aid of its
  jurisdiction” exception to in rem or quasi in rem proceedings, it would
  have said so. Romag Fasteners, Inc. v. Fossil, Inc., 140 S. Ct. 1492, 1495
  (2020) (“Nor does this Court usually read into statutes words that aren’t
  there”).

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  statute. If that was Congress’ intention, the text of amendment would

  have stated “or where necessary in aid of its in rem or quasi in rem

  jurisdiction.” Clothing Workers v. Richman Bros, 348 U.S. 511, 515 n.1

  (1955); Parsons Steel, Inc. v. First Alabama Bank, 474 U.S. 518, 524

  (1986) (“Congress in 1948 amended the [AIA] to overrule[] Toucey [] in

  favor of the understanding of prior law expressed in Justice Reed's

  dissenting opinion”); Steffel v. Thompson, 415 U.S. 452, 477-78

  (1974)(same); Dowd v. Front Range Mines, Inc., 242 F. Supp. 591, 596 (D.

  Colo. 1965)(The “effect of Section 2283 is to allow a federal court to enjoin

  enforcement of a state judgment, if necessary, in aid of its equitable

  jurisdiction”). In sum, the AIA’s 1948 amendment codified Justice Reed’s

  dissent which recognized that in “cases where the Federal court acts in

  aid of its own jurisdiction and to render its decree effectual, it may,

  notwithstanding [the AIA] restrain all proceedings in a state court which

  would have the effect of defeating or impairing its jurisdiction.” Toucey,

  314 U.S. at 147.

        In any event, unpaid wages are property which constitutes a res.

  See, e.g., Lawson v. Grubhub, Inc., 13 F.4th 908, 915-16 (9th Cir. 2021)

  (citing Cortez v. Purolator Air Filtration Prod. Co., 23 Cal.4th 163, 96



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  Cal.Rptr.2d 518, 999 P.2d 706, 709 (2000). And even if back wages are

  not property that would implicate in rem or quasi in rem jurisdiction, the

  in-aid-of-jurisdiction exception authorizes injunctive relief “to prevent a

  state court from so interfering with a federal court’s consideration or

  disposition of a case as to seriously impair the federal court's flexibility

  and authority to decide that case.” Sandpiper Vill., 428 F.3d at 843

  (quoting Atl. Coast Line, 398 U.S. at 295). And an injunction may issue

  where “the state court action threatens to frustrate proceedings and

  disrupt the orderly resolution of the federal litigation.” In re Diet Drugs

  I, 282 F.3d at 234 (quoting Winkler v. Eli Lilly & Co., 101 F.3d 1196, 1202

  (7th Cir.1996)). These concerns are acutely present here.

          Finally, the District Court opined that the Supreme Court “recently

  emphasized the limited scope of [the in aid of jurisdiction] exception.” 5-

  AA-1190n.2. (citing Shoop v. Twyford, 142 S. Ct. 2037 (2022)). Not true.

  Shoop did not even involve the AIA; the case concerned the Antiterrorism

  and Effective Death Penalty Act of 1996 (AEDPA). Shoop, 142 S. Ct. at

  2046.




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  H.    The District Court Committed Reversible Error by
        Refusing to Issue the AWA Injunction Resulting in an
        Abstention in Favor of a State Court in Violation of the
        Colorado River Doctrine

        The District Court improperly abstained its jurisdiction in favor of

  a California state court contrary to the Colorado River Doctrine. As the

  Supreme Court explained the “doctrine of abstention, under which a

  District Court may decline to exercise or postpone the exercise of its

  jurisdiction, is an extraordinary and narrow exception to the duty of a

  District Court to adjudicate a controversy properly before it. Abdication

  of the obligation to decide cases can be justified under this doctrine only

  in the exceptional circumstances where the order to the parties to repair

  to the State court would clearly serve an important countervailing

  interest.” Colorado River, 424 U.S. at 813.

        When two cases are pending in different “federal district courts,

  however, though no precise rule has evolved, the general principle is to

  avoid duplicative litigation.” Colorado River, 424 U.S. at 817.            The

  difference in the “general approach between state-federal concurrent

  jurisdiction and wholly federal concurrent jurisdiction stems from the

  virtually unflagging obligation of the federal courts to exercise

  the jurisdiction given them.”         Id. at 817-18.     As this Court has


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  explained, the “need for a difference in approaches stems from the

  different purposes underlying each type of abstention: When a federal

  district court defers in favor of another federal case, the only concern is

  venue because federal jurisdiction will be exercised in one of the two

  districts.” Wakaya Perfection, LLC v. Youngevity Int’l, Inc., 910 F.3d

  1118, 1122 (10th Cir. 2018).

        None of the factors that led the Supreme Court to uphold abstention

  in Colorado River are present here. In fact, all of the factors analyzed by

  the District Court compel the conclusion that giving priority to the state

  court is improper. Colorado River, 424 U.S. at 819-20.

        After Colorado River, the Supreme Court emphasized that its task

  “is not to find some substantial reason for the exercise of federal

  jurisdiction by the district court; rather, the task is to ascertain whether

  there exist ‘exceptional’ circumstances, the ‘clearest of justifications,’ that

  can suffice under Colorado River to justify the surrender of that

  jurisdiction” and the “presence of federal-law issues must always be a

  major consideration weighing against surrender.” Moses H. Cone Hosp.

  v. Mercury Constr. Corp., 460 U.S. 1, 25-26 (1983). Notably, the Court

  concluded a “stay is as much a refusal to exercise federal jurisdiction as



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  a dismissal. When a district court decides to dismiss or stay under

  Colorado River, it presumably concludes that the parallel state-court

  litigation will be an adequate vehicle for the complete and prompt

  resolution of the issues between the parties. If there is any substantial

  doubt as to this, it would be a serious abuse of discretion to grant the stay

  or dismissal at all. []Thus, the decision to invoke Colorado River

  necessarily contemplates that the federal court will have nothing further

  to do in resolving any substantive part of the case, whether it stays or

  dismisses.” Id. at 28; accord Wakaya Perfection, 910 F.3d at 1121 (the

  “Colorado River test requires ‘exceptional circumstances’ and an

  ‘important countervailing interest’ for a federal court to abstain from

  exercising jurisdiction based on pending litigation in state court”).

        Since the District Court did not take any action to exercise or

  protect its jurisdiction, it effectively abstained from exercising its

  jurisdiction in favor of a state court. 5-AA-1192. When one case is in

  federal court and another is in state court, it is reversible error if the

  district court does not apply the Colorado River test. Wakaya Perfection,

  910 F.3d at 1121, 1123-24.




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  I.    The District Court Erred in Failing to Enforce the “First
        Filed” Rule

        The Tenth Circuit has explained that when “two federal suits are

  pending” as a “starting point, courts should apply the first-to-file rule”

  which the Tenth Circuit has “adopted [] as a baseline.” Wakaya

  Perfection, 910 F.3d at 1124. “Under this rule, courts consider three

  factors: ‘(1) the chronology of events, (2) the similarity of the parties

  involved, and (3) the similarity of the issues or claims at stake.’” Id.

  (quoting Baatz v. Columbia Gas Transmission, LLC, 814 F.3d 785, 789

  (6th Cir. 2016)). These factors, however, “are not exhaustive, and other

  equitable factors may bear on the inquiry” including “inequitable

  conduct, bad faith, anticipatory suits, and forum shopping as equitable

  considerations.” Wakaya, 910 F.3d at 1124. Contrary to the R&R, the

  Tenth Circuit emphasized that a court must “consider not only the

  chronology of events but also the similarities in the parties, issues,

  and claims.” Wakaya, 910 F.3d at 1124. The Magistrate and District

  Court erred by looking only at the chronology.

        Yet even the lower court’s chronology analysis was fatally flawed.

  “To determine chronology, [] typically requires only a comparison of the

  two filing dates” of the relevant complaints. Wakaya, 910 F.3d at 1124.


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  Courts should focus on the filing date, not the removal date because to do

  otherwise would “reward gamesmanship” and “allow defendants to

  manipulate the first-to-file rule by suing in another forum before

  removing the first case. This sort of manipulation would allow

  defendants, not plaintiffs, to select the forum for the plaintiff’s claim.”

  Wakaya, 910 F.3d at 1125-26. Moreover, the “sequence of filings bears

  on both the first-to-file rule and the Colorado River test. But,[] the two

  tests vary in the weight placed on which complaint was filed first. When

  both cases are pending in federal courts, the first-filed case often obtains

  priority. But when one of the cases is in state court, the sequence of filing

  dates is less likely to be determinative because of the federal court’s

  virtually unflagging obligation to exercise its jurisdiction.” Wakaya, 910

  F.3d at 1126 n.4 (quotation marks omitted). Neither the Magistrate nor

  the District Court adhered to this guidance.

        The lower court also should have considered, but did not, “whether

  the two cases bear substantial overlap in (1) the parties and (2) the issues

  or claims.” Wakaya, 910 F.3d at 1126-27 (10th Cir. 2018) (citing Baatz v.

  Columbia Gas Transmission, LLC, 814 F.3d 785, 790–91 (6th Cir. 2016)).

  “In order for suits filed in different districts to be duplicative, they must



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  involve nearly identical parties and issues.” Baatz v. Columbia Gas

  Transmission, LLC, 814 F.3d 785, 789 (6th Cir. 2016).

        Here, the Colorado Action, filed in the District of Colorado (where

  Vail is headquartered) on December 3, 2020, was the first case to allege

  FLSA and nationwide state labor law claims against Vail. Moreover, the

  Colorado Action FLSA claims are broader than those alleged in Gibson,

  and the Colorado Action alleges broader state law claims. 5-AA-1123

  (compare Colorado Action, ECF No. 1 at ¶¶63-74 (definitions of 10

  classes), ¶¶85-192 (4 FLSA counts), and ¶¶93-519 (14 state law counts)

  with Gibson, ECF No. 1 at ¶¶62-71 (one FLSA overtime claim), ¶¶72-132

  (California state law claims). By contrast, Vail is not a defendant in

  Heggen, which alleges claims only under California law (explicitly

  disclaiming any federal claims) on behalf of Heavenly employees against

  Heavenly only, or in Hamilton, which similarly alleges claims under

  California state law only against Heavenly only. The actions have

  important dissimilarities as to both parties (factor 2) and issues (factor

  3). Heggen sued only Heavenly Valley (a Vail subsidiary), brought only

  California claims (explicitly disclaimed federal claims), and the Heggen

  class is subsumed within the Colorado Action, which asserts 10 separate



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  subclasses, but not vice-versa. So Heggen cannot be “first filed” when

  compared to the Colorado Action. See Martin v. Medicredit, Inc., No.

  4:16CV01138 ERW, 2016 WL 6696068, at *5 (E.D. Mo. Nov. 15, 2016)

  (denying motion to stay based “upon the presence of different defendants

  and significant disparities in the definitions of the putative classes”);

  Lloyd v. J.P. Morgan Chase & Co., No. 11 CIV. 9305 LTS, 2012 WL

  3339045 (S.D.N.Y. Aug. 14, 2012); Riley v. General Motors, 2022 WL

  787871, at *1, *4-*5 (S.D. Ohio Mar. 15, 2022).

        Gibson post-dates the Colorado Action by at least five months.

  Gibson “commenced” when the complaint was filed on April 20, 2021,

  Pacesetter Sys., Inc. v. Medtronic, Inc., 678 F.2d 93, 96 n.3 (9th Cir. 1982),

  not the date of plaintiff’s PAGA letter); see also Cal. Civ. Proc. Code § 350

  (“An action is commenced, within the meaning of this Title, when the

  complaint is filed.”). Moreover, seeking an administrative remedy (e.g.,

  sending a PAGA letter) does not commence an action. See, e.g., Twp. of

  Bordentown v. Fed. Energy Regulatory Comm’n, 903 F.3d 234, 267 (3d

  Cir. 2018)(collecting cases). Gibson “commenced” in federal court when

  Vail removed it to the Eastern District on July 20, 2021. Fed. R. Civ. P.




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  3 (“A civil action is commenced by filing a complaint with the court.”). 4-

  AA-724-739.

                                CONCLUSION

        For the foregoing reasons, this Court should reverse the District

  Court’s Order overruling Appellants’ Objections and issue a permanent

  injunction or direct the District Court to issue a permanent injunction

  against Vail’s settlement in the California Actions.



                                       Respectfully Submitted,

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             STATEMENT REGARDING ORAL ARGUMENT

        Oral argument is requested. This is a case of significant national

  importance involving the federal and state labor laws and thousands of

  hourly employees. Because of the national significance of this issue,

  Appellants respectfully submit that oral argument would be beneficial.



                                       Respectfully Submitted,

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                     CERTIFICATE OF COMPLIANCE


        Counsel for Appellants certifies:

        1.    This brief complies with the type-volume limitation of Federal

  Rule of Appellate Procedure 32(a)(7)(B).         This brief contains 12,742

  words, excluding the parts of the brief exempted by Federal Rule of

  Appellate Procedure 32(f).

        2.    This brief complies with the typeface requirements of Federal

  Rule of Appellate Procedure 32(a)(5) and the typestyle requirements of

  Federal Rule of Appellate Procedure 32(a)(6).          This brief has been

  prepared in a proportionally spaced typeface using Microsoft Word in 14-

  point Century Schoolbook font.


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                           ADDENDUM
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                                  IN THE UNITED STATES DISTRICT
                               COURT FOR THE DISTRICT OF COLORADO
                                      Judge Daniel D. Domenico

            Civil Case No. 1:20-cv-03569-DDD-GPG

            RANDY D. QUINT;
            JOHN LINN; and
            MARK MOLINA; on behalf of all others similarly situated,

                 Plaintiffs,

            V.



            VAIL RESORTS, INC.,

                 Defendant.



              ORDER OVERRULING OBJECTIONS TO MAGISTRATE JUDGE'S
             ORDER ON MOTION FOR EMERGENCY PERMANENT INJUNCTION



                 Before me are Plaintiffs' objections (Doc. 123) to United States

            Magistrate         Judge   Gallagher's   report (Doc.   120)   recommending

            Plaintiffs' Emergency Motion for Permanent Injunction under the All

            Writs Act be denied (Doc. 89). This is one of several cases involving

            similar claims against Defendant Vail Resorts: ( 1) Gibson u. The Vail

            Corp., et al, No 2:21-cv-01260-KM-AC (
                                                 E.D. Cal.); (
                                                             2) Heggen u. Heavenly

            Valley, LP, No. 2:21-cv-00107- WBS-DB (E.D. Cal.); (
                                                               3) Hamilton u.

            Heavenly Valley, LP, No. 2:21-cv-01608-MCE-DB (E.D. Cal.) (
                                                                      Hamilton

            I); (4) Hamilton u. Heavenly Valley, LP, No. SC20210148 (Cal. Sup. Ct.)

            (Hamilton 11); and (5) Roberds u. The Vail Corp., No. SC20210164 (Cal.

            Sup. Ct.). The parties in Gibson, Heggen, Hamilton I, and Hamilton II

            have reached nationwide settlements, pending court approval. (Doc. 94

            at 3.) Plaintiffs move to enjoin Vail from finalizing a settlement in the

            California state court action or any other court. (Doc. 89 at 5.) Plaintiffs'

            objections are overruled, and the motion is denied.




                                                 ADD-1
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                                      STANDARD OF REVIEW


               When reviewing amagistrate judge's order that is not dispositive of

            aparty's claim or defense, aCourt should "modify or set aside any part

            of the order that is clearly erroneous or is contrary to law." Fed. R. Civ.

            P. 72(a); 28 U.S.C. § 636(b)(1)(A). The magistrate judge's factual findings

            may not be set aside unless "on the entire evidence [the court] is left

            with the definite and firm conviction that a mistake has been

            committed." United States u. U.S. Gypsum Co., 333 U.S. 364, 395 ( 1948);

            Residences at Olde Town Square Assoc. u. Travelers Cas. Ins. Co. of Am.,

            413 F. Supp. 3d 1070, 1072 (D. Colo. 2019) (citing Ocelot Oil Corp. u.

            Sparrow Indus.,     847   F.2d    1458,   1464 ( 10th   Cir.   1988)).   Legal

            determinations may be set aside if the magistrate judge applied the

            wrong legal standard or applied the appropriate legal standard

            incorrectly. Olde Town Square, 413 F. Supp. 3d at 1072 (citing 12

            Charles Alan Wright & Arthur R. Miller,            Federal Practice and

            Procedure § 3069 (2d ed.)).


                                             DISCUSSION


               Plaintiffs object to Judge Gallagher's order denying their Emergency

            Motion for Permanent Injunction under the All Writs Act because, they

            say, ( 1) the California settlement is facially collusive and indicative of a

            reverse auction, (2) the Anti- Injunction Act does not apply, (3) even if

            the Anti- Injunction Act applies, an injunction is proper under two

            exceptions, and (4) the first filed rule and Colorado River abstention.

            (Doc. 123.)


               I.     Indicia of Collusion & Reverse Auction


               Judge Gallagher stated that "Plaintiffs fail to point to any facts to

            support the serious accusation that this is an abusive or collusive


                                                  2




                                              ADD-2
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            settlement and this Court takes umbrage at the insinuation that

            another federal or state judge would be so unethical as to permit such

            nefarious conduct." (Doc. 120 at 5.) Plaintiffs argue this "ignores all

            `indicia of collusion,' concluding that Plaintiffs failed to identify any facts

            suggesting an improper settlement" and the California settlement

            agreement is the product of areverse auction. (Doc. 123 at 6.) A reverse

            auction is "the practice whereby the defendant in aseries of class actions

            picks the most ineffectual class lawyers to negotiate a settlement with

            the hope that the district court will approve aweak settlement that will

            preclude other claims against the defendant." Reynolds u. Beneficial

            Nat'l Bank, 288 F.3d 277, 282-83 (7th Cir. 2002).


               First, Judge Gallagher's finding that there were no facts supporting

            the contention that the settlement is abusive or collusive is not clearly

            erroneous. The allegedly collusive behavior is for the most part simply

            Plaintiffs' disagreement with the settlement agreement reached in the

            other cases. It is at least as likely the product of good faith negotiations

            and decisionmaking rather than anything nefarious.


               And as Vail points out, Plaintiffs provide no precedent for the

            proposition that this federal court is empowered to undertake areview

            of asettlement agreement reached in adifferent court, before adifferent

            judge. (
                   See Doc. 120) ("this Court takes umbrage at the insinuation that

            another federal or state judge would be so unethical as to permit such

            nefarious conduct"). Plaintiffs' objection cites only to cases that are not

            binding here. See Camreta u. Greene, 563 U.S. 692, 709 n.7 (2011) ("A

            decision of a federal district judge is not binding precedent in either a

            different judicial district, the same judicial district, or even upon the

            same judge in adifferent case."); F.D1 C. u. Daily, 973 F.2d 1525, 1532

            (10th Cir. 1992) ("Decisions of the Ninth Circuit Court of Appeals are

            not binding on the Tenth Circuit Court of Appeals. "). More significantly,

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                                              ADD-3
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            all the cases provided by Plaintiffs discuss district court examination of

            settlement agreements in lawsuits in front of that court. Kim u. Allison,

            8 FAth 1170, 1182 (9th Cir. 2021) (analyzing the district court's

            approval of the settlement); In re Community Bank, 418 F.3d 277, (3d

            Cir. 2005) (discussing district court's verbatim adoption of parties'

            proposed findings of fact and conclusions of law before approving

            settlement); Ross u. Convergent Outsourcing, Inc., 323 F.R.D. 656, 660-

            61 (D.   Colo. 2018) (holding that district court would not grant

            preliminary approval of class settlement); Figueroa u. Sharper Image,

            517 F. Supp. 2d 1292, (S.D. Fla. 2007) (considering proposed settlement

            agreement of case before it). These cases are thus inapposite here, where

            the Plaintiffs urge me to scrutinize another judge's decision and

            authority.


               Ialso agree with Judge Gallagher's conclusion that that Local Rule

            3.2(c) "does not permit this Court to enjoin the California cases from

            proceeding, and even if Defendant hypothetically could have been more

            forthcoming with related cases at an earlier date, this Court does not

            find that such conduct would rise to the level of sanctions." (Doc. 120 at

            5.) Under Local Rule 3.2, aparty to acase shall file notice with the court

            identifying all cases pending in this or any other federal, state, or foreign

            jurisdiction that are related to the case. Judge Gallagher noted that Vail

            provided notice of Hamilton I, Gibson, and Heggen in August 2021 and

            supplemental notice in November 2021 and December 2021. (
                                                                    Id. at 4.)

            Vail provided notice under Local Rule 3.2(c), and sanctions are not

            warranted in this situation. Judge Gallagher's factual findings and legal

            application are not clearly erroneous or contrary to law.




                                                 4




                                              ADD-4
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               II.    Anti -
                           Injunction Act & Exceptions


               The Anti- Injunction Act generally precludes injunctions against

            state court proceedings. Tooele Cnty. u. United States, 820 F.3d 1183,

            1187 ( 10th Cir. 2016). There are three exceptions:


               1. Congress has expressly authorized an injunction;
               2. The injunction is necessary in aid of its jurisdiction; and
               3. The injunction is necessary to protect or effectuate a previous
                  judgment in federal district court.

            28 U.S.C. § 2283. At various points in their motion and reply, Plaintiffs

            contend that all three exceptions apply. (
                                                     See Doc. 89 at 9, Doc. 95 at 7.)

            Judge    Gallagher's   report   only   addresses   the   second   and   third

            exceptions. (
                        See Doc. 120 at 8.) But he did not have to discuss an

            argument raised only in the reply.' See Beaudry u. Corrections Corp. of

            America, 331 F.3d 1164, 1166 n.3 ( 10th Cir. 2003) ("court generally does

            not review issues raised for the first time in areply brief"). Nor will I

            indulge Plaintiffs in a review of arguments not properly raised before

            Judge Gallagher. See id.


               Plaintiffs assert that Judge Gallagher's failure to address Hillman u.

            Webley is clear error. In Hillman, the Tenth Circuit held that the All

            Writs Act did not provide the district court with the authority to remove

            state court action to protect a settlement order in a multidistrict


            ' Iam growing concerned about Plaintiffs' counsel's trend of waiting to
            raise new arguments in reply briefs. (   See Docs. 89, 95, 118, 124.) In a
            similar vein, Plaintiffs have twice misstated the standard of review. (See
            Doc. 118 at 1, Doc. 123 at 5.) Misstating the law to the court, not once
            but twice, is not something Itake lightly. Nor Iam amused by the
            apparent gamesmanship of raising entirely new arguments in reply
            briefs. While I will not speculate as to whether these errors were
            intentional, Iremind counsel that they have ethical obligations of candor
            to the court and general competency. See Model Rules 1.1 and 3.3.
            Should such errors continue, Imay have to take additional measures to
            ensure that Plaintiffs' counsel adhere to their ethical obligations.

                                                   5




                                              ADD-5
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            litigation case.   115   F.3d 1461,   1469 ( 10th Cir.   1997). Plaintiffs

            emphasize that the Hillman Court provided that the "district court

            undoubtedly had the authority under the All Writs Act to enjoin parties

            before it from pursuing conflicting litigation in the state court." Id. But

            Hillman involved the problem of astate court action that "threaten[ed]

            to frustrate asettlement order entered by afederal court" in acomplex

            multidistrict litigation securities class action. Id. at 1468. This is in

            many ways the mirror image: Plaintiffs ask me to frustrate settlement

            proceedings in a state court, not exercise authority to protect a

            settlement proceeding before this court.


                Plaintiffs' end goal remains the same regardless of how they phrase

            it: to stop the consummation of the settlement agreement. They assert

            that they "do not seek to enjoin Vail from litigating the state court

            action." (Doc. 123 at 9.) But preventing Vail from resolving the state

            court action through settlement is an attempt to enjoin it from litigating

            that action. Because the Anti- Injunction Act governs the interference in

            state court proceedings, which is the relief Plaintiffs request, Judge

            Gallagher's application of the Act in these circumstances is not contrary

            to law. Olde Town Square, 413 F. Supp. 3d at 1072.


                Plaintiffs also contend that an injunction is necessary in aid of this

            court's jurisdiction. (Doc. 123 at 12.) This exception, which is construed

            narrowly 2,applies when two suits, one in astate court and the other in

            afederal court, are ( 1) "in rem or quasi in rem, so that the court or its

            officer must have possession or control of the property which is the

            subject matter" and (2) "the court first acquiring jurisdiction or

            assuming control of such property is entitled to maintain and exercise


            2   The Supreme Court recently emphasized the limited scope of this
            exception. See Shoop u. Twyford, No. 21-511, slip op. at 11 (2022).



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                                             ADD-6
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            its jurisdiction to the exclusion of the other." Mandeville u. Canterbury,

            318 U.S. 47, 48-49 ( 1943). An "in rem proceeding affect[s] the interests

            of all persons in the property [while an] action quasi in rem ... affects

            the interests of only some persons in the property." Tooele Cnty., 820

            F.3d at 1188. Plaintiffs contend that this exception applies because

            "back wages are property." (Doc. 123 at 12.)


               Again instead of providing binding precedent for this proposition, the

            only cases provided in support are from another circuit and California

            state courts. Plaintiffs' cases, moreover, do not discuss whether back

            wages are in rem or quasi in rem. See Lawson u. Grubhub, Inc., 13 FAth

            908 (9th Cir. 2021); Reyes u. Van Elk, 56 Cal. Rptr. 3d 68 (Ct. App. 2007);

            Sims u. AT&T Mobility Serus., 955 F.Supp. 2d 1110 (E.D. Cal 2013). Nor

            have Ibeen able to find any Tenth Circuit precedent suggesting that

            back wages are considered in rem or quasi in rem. In any event, this

            court does not have possession or control over any property in this

            matter. 3 Judge Gallagher's conclusion that the second exception did not

            apply is not clearly erroneous or contrary to law. See Gypsum Co., 333

            U.S. at 395.


               While Plaintiffs do not expressly object to Judge Gallagher's analysis

            of the third exception (the relitigation exception), I still have an

            obligation to review it, though under any standard Ideem appropriate.

            See Summers u. Utah, 927 F.2d 1165, 1167 ( 10th Cir. 1991). Under any

            standard, I agree with Judge Gallagher. The relitigation exception

            "authorizes an injunction to prevent state litigation of aclaim or issue

            that previously was presented to and decided by the federal court."


            3     As Vail points out, this court's jurisdiction is based on Vail's
            headquarters and conduct in the state of Colorado, not where some
            property is located, or which court has possession of a given piece of
            property. See Mandeville, 318 U.S. at 48-49.


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                                             ADD-7
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            Smith u. Bayer Corp., 564 U.S. 299,306 (2011) (quoting Chick Kam Choo

            u. Exxon Corp., 486 U.S. 140 ( 1988)). Judge Gallagher is correct that

            there is no final judgment and in turn there are no issue or claim

            preclusion disputes. (
                                 See Doc. 120 at 9.) So his determination that the

            second exception does not apply is not clearly erroneous or contrary to

            law. See Gypsum Co., 333 U.S. at 395.


               III.   First-Filed Rule & Colorado River Abstention


               Plaintiffs   contend that Judge        Gallagher's   report "erroneously

            suggests that this Court may abstain from exercising jurisdiction in

            favor of the California court under Colorado River Water Dist. u. United

            States, 424 U.S. 800 ( 1976). (Doc. 123 at 12.) They also argue that the

            report is "erroneous because it did not conduct the first- filed analysis

            mandated by the Tenth Circuit." (
                                            Id. at 14.) Judge Gallagher concluded

            that "either: ( 1) the cases in the Eastern District of California are related

            to the instant case, but Plaintiffs are not the first to file because Heggen

            preceded Quint, or (2) the cases in the Eastern District of California are

            not related and Plaintiffs' arguments in the instant motion to halt

            proceedings in those cases are meritless." (
                                                       Id. at 8.)


               Plaintiffs' first argument regarding Colorado River misunderstands

            the report and recommendation. Under Colorado River, afederal district

            court faced with exceptional circumstances may abstain if there is a

            parallel state case and the relevant factors weigh in favor of abstention.

            Id. at 819. Plaintiffs misinterpret Judge Gallagher's report. He did not

            recommend abstention under Colorado River; he instead cited to

            Colorado River as acontradictory proposition to his explanation that the

            first- to-file does not pertain to a case filed and proceeding state court.

            (Doc. 123 at 6.)




                                                  8




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               Plaintiffs' second argument—that "the Report is also erroneous

            because it did not conduct the first- file rule analysis mandated by the

            Tenth Circuit"—is wrong as well. (
                                             See Doc. 123 at 14.) Judge Gallagher

            did apply the standard outlined by the Tenth Circuit in Wakaya

            Perfection, LLC u. Youngevity Intl, Inc., 910 F.3d 1118 ( 10th Cir. 2018)

            and stated the applicable factors that may be considered as provided in

            Crocs, Inc. u. Cheng's Enters., Inc., No. 06-cv-00605-PAB-KMT, 2015 WL

            5547389 (D. Colo. Sept. 21, 2015). (Doc. 120 at 6-7.) The first- to- file rule

            is an equitable rule to avoid duplicative litigation that "`permits,' but

            does not require, afederal district court to abstain from exercising its

            jurisdiction in deference to afirst- filed case in adifferent federal district

            court." Wakaya, 910 F.3d at 1124. Judge Gallagher correctly emphasized

            that this rule is specific to federal district courts, and Plaintiffs are

            focused on a state case. Even if the first- filed rule applied here, Judge

            Gallagher applied the factors. (Doc. 120 at 7-8.) When conducting this

            analysis, courts exercise discretion "on a case-by-case basis when

            weighing the impact of which case was filed first." Id. at 1126. Other

            courts have considered the following factors: "( 1) the chronology of

            actions; (2) the similarity of parties; and (3) the similarity of issues."

            Crocs, 2015 WL 5547389 at * 3. Judge Gallagher highlighted one of the

            Crocs factors: the Heggen action was filed before this action. (Doc. 120

            at 7.) He performed a case- specific inquiry and discussed the most

            relevant factor. This portion of his report is neither clearly erroneous

            nor contrary to law.




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                                              ADD-9
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                                        CONCLUSION


               Plaintiffs' objections to United States Magistrate Judge Gallagher's

            Report and Recommendation (Doc. 123) are OVERRULED. The Report

            and Recommendation (Doc.      120) is ACCEPTED and ADOPTED.

            Plaintiffs' Emergency Motion for Permanent Injunction under the All

            Writs Act (Doc. 89) is DENIED.


            DATED: June 27, 2022.                  BY THE COURT:




                                                   Daniel D. Domenico
                                                   United States District Judge




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                                          ADD-10
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                CERTIFICATE OF DIGITAL SUBMISSION

        Counsel for Appellants hereby certifies that all required privacy

  redactions have been made, which complies with the requirements of

  Federal Rules of Appellate Procedure 25 (a)(5).

        Counsel also certifies that the hard copies submitted to the Court

  are exact copies of the ECF filing of November 18, 2022.

        Counsel further certifies that the ECF submission was scanned for

  viruses with the most recent version of a commercial virus scanning

  program (Vipre software version 12.3.8147; Definitions version 105782 –

  7.93351 [November 18, 2022 Vipre engine version 5.6.8.8 – 3.0), and

  according to the program, is free of viruses.

                                       Respectfully Submitted,

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                                       Quint et al.
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                CERTIFICATE OF FILING AND SERVICE

        I hereby certify I electronically filed the foregoing with the Clerk of

  the Court for the United States Court of Appeals for the Tenth Circuit by

  using the CM/ECF system on November 18, 2022. Participants in the

  case who are registered CM/ECF users will be served by the CM/ECF

  system, which constitutes service pursuance to Federal Rule of Appellate

  Procedure 25(c)(2) and Tenth Circuit Rule 25-4.

                                       Respectfully Submitted,

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